Filed 05/16/22                                        Case 22-02021                                              Doc 8


             3

        1 PHILLIP A. TALBERT
          United States Attorney
        2 JEFFREY J. LODGE
          Assistant United States Attorney
        3 2500 Tulare Street, Suite 4401
          Fresno, California 93721
        4 Telephone: (559) 497-4000
          Email:       jeffrey.lodge@usdoj.gov
        5

        6   Attorneys for the United States Department of Education
        7

        8                           UNITED STATES BANKRUPTCY COURT
        9                             EASTERN DISTRICT OF CALIFORNIA
       10
                                                               Case No. 21-21372-13-C
       11   In re:                                             Chapter 13
       12   BRENDA L. SMITHEY,
       13
                                         Debtor,
       14
            __________________________________ ___
       15
            BRENDA L. SMITHEY,                                 Adv. Proceeding No. 22-02021-A
       16

       17                                Plaintiff,            ANSWER
       18   v.
       19   U.S. DEPARTMENT OF EDUCATION,
       20                                Defendant.
       21

       22            The United States Department of Education (“Education”), by and through the United States

       23 Attorney for the Eastern District of California, answers the Complaint to Determine Dischargeability

       24 of Debt pursuant to 11 U.S.C. § 523(a)(8). Education specifically denies each and every allegation

       25 not hereinafter specifically admitted. Responding to the corresponding numbered paragraphs of the

       26 complaint, Education answers as follows:

       27 ///

       28 ///

            ANSWER                                                                                        1
Filed 05/16/22                                       Case 22-02021                                                     Doc 8




        1                                             JURISDICTION

        2          1.      These are jurisdictional allegations to which no response is required. To the extent a

        3 response is required, the allegations are denied. Student loans are presumed not dischargeable in

        4 bankruptcy pursuant to 11 U.S.C. § 523(a)(8).

        5          2.      These are jurisdictional allegations to which no response is required. Plaintiff has

        6 failed to address Fed.R.Bank.P. 7008. Education does consent to entry of final orders or judgment

        7 by the Bankruptcy Court regarding its student loans.

        8                                       FACTUAL ALLEGATIONS

        9          3.      Education is without sufficient knowledge or information to form a belief about the

       10 factual averments and denies the allegations.

       11          4.      Education admits that the Plaintiff is indebted for student loans and that it filed a

       12 proof of claim in this case.

       13          5.      Education is without sufficient knowledge or information to form a belief about the

       14 factual averments and denies the allegations.

       15                                       FIRST CAUSE OF ACTION

       16          6.      Student loans are presumed not dischargeable in bankruptcy pursuant to 11 U.S.C. §

       17 523(a)(8) and Education denies that the plaintiff can satisfy the applicable legal standard. Education

       18 is without sufficient knowledge or information to form a belief about the factual averments and

       19 denies the allegations. Education denies that attorneys fees are available to the Plaintiff in this case.

       20                                   FIRST AFFIRMATIVE DEFENSE

       21                                         (Failure to State a Claim)

       22          The complaint fails to state a claim upon which relief can be granted. The complaint does

       23 not satisfy the pleading requirements of Rule 8 or the plausibility requirements of Rule 12(b) as they

       24 are incorporated by the Federal Rules of Bankruptcy Procedure.

       25 ///

       26 ///

       27 ///

       28 ///

            ANSWER                                                                                                 2
Filed 05/16/22                                       Case 22-02021                                                    Doc 8




        1                                 SECOND AFFIRMATIVE DEFENSE

        2                                  (Failure to Exhaust Administratively)

        3          Plaintiff failed to adequately avail herself of the repayment options available through the

        4 United States Department of Education, including deferment, forbearance, cancellation, and

        5 extended, graduated, income-contingent and income sensitive repayment options.

        6                                  THIRD AFFIRMATIVE DEFENSE

        7                                           (Additional Defenses)

        8          Education reserves the right to assert additional affirmative defenses as their applicability is

        9 discovered throughout this case.

       10          WHEREFORE, Education prays that plaintiff take nothing by reason of her complaint, that

       11 judgment be entered in favor of Education, and for such other relief as the Court deems proper.

       12 Dated: May 16, 2022                                     Respectfully submitted,

       13                                                         PHILLIP A. TALBERT
                                                                  United States Attorney
       14

       15                                                    By: /s/Jeffrey J. Lodge
                                                                 Jeffrey J. Lodge
       16                                                        Assistant U.S. Attorney
                                                                 Attorneys for the United States
       17

       18

       19

       20

       21

       22

       23

       24

       25

       26

       27

       28

            ANSWER                                                                                               3
